     Case 3:19-cv-00067-RCJ-WGC Document 40 Filed 09/29/21 Page 1 of 2



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 6                                 UNITED STATES DISTRICT COURT
 7                           DISTRICT OF NEVADA
 8                                     ***
     TOMAS PEREZ,                      )
                                       )
 9                                     ) Case No.: 3:19-cv-67-RCJ-WGC
                Plaintiff,             )
10   v.                                )
                                       )
11   BARRICK GOLDSTRIKE MINES, INC., a )
     foreign corporation,              ) ORDER TO EXTEND TIME FOR
12                                     ) PLAINTIFF TO RESPOND TO
                                       ) DEFENDANT’S MOTION FOR
13              Defendant.             ) RECONSIDERATION OR TO
                                       ) CERTIFY FOR INTERLOCUTORY
14                                     ) APPEAL
                                       )
15                                     ) [FIRST REQUEST]
                                       )
16                                     )

17          It is hereby stipulated by and between the parties, through their respective counsel, that Plaintiff,
18   TOMAS PEREZ, (hereinafter referred to as “Plaintiff”), shall have an extension from Friday, October
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     1, 2021 to and including Friday, October 15, 2020, in which to file his Response to Defendant’s
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     Motion for Reconsideration or to Certify for Interlocutory Appeal (ECF No. 38). Additionally, the
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     Defendant BARRICK GOLDSTRIKE MINES, INC. shall have a reciprocal extension to and including
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     October 29, 2021, in which to file its Reply to Plaintiff’s Response. This stipulation is submitted and
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24   based upon the following:

25          This is the first request for an extension of this deadline. The parties provide the

26   following information to the Court regarding the proposed extension of time:
27               1. Plaintiff’s counsel has been delayed in completing work over the past several
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                                                              Case 3:19-cv-00067-RCJ-WGC Document 40 Filed 09/29/21 Page 2 of 2



                                                          1                   weeks due to illness in his family that he has been required to attend to. He
                                                          2                   has informed Defendant’s Counsel of the details of this and the parties agree
                                                          3
                                                                              to a two week extension of the Plaintiff’s deadline to file an Opposition.
                                                          4
                                                                          2. There are no other deadlines or proceedings with which this extension would
                                                          5
                                                                              interfere.
                                                          6

                                                          7    This stipulation to extend the deadline is made in good faith and not for purposes of delay.

                                                          8

                                                          9   DATED this 28th day of September, 2021.              DATED this 28th day of September, 2021.

                                                         10
                                                                     /s/ James P. Kemp                             /s/ David C. Castleberry
                                                         11   James P. Kemp, Esq                            David C. Castleberry, Esq.
                                                         12   KEMP & KEMP                                   MANNING CURTIS BRADSHAW & BEDNAR,
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                   LAS VEGAS, NEVADA 89130




                                                         14   Attorney for Plaintiff                        Attorneys for Defendant
KEMP & KEMP
                      ATTORNEYS AT LAW




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                                                                                                            IT IS SO ORDERED
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                                                                                                            ________________________________
                                                         19                                                 U.S. DISTRICT COURT JUDGE
                                                         20
                                                                                                            Dated: September 29, 2021.
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